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                           UNITED STATES DISTRICT COURT
                            MIDDLE DI$TRCT OF FLORIDA
                                  TAMPA DIVISION

RANDYL PRICE,

 Plaintiff,                                        CASE NO.:



ALLY FINANCIAL, INC.,

 Defendant.


                      COMPLAINT AND DEMAND FOR JURY TRIAL

       COMES NOW Plaintiff, RANDYL PRICE, by and through the undersigned counsel, and

sues Defendant, ALLY FINANCIAL, INC., and in support thereof respectfully alleges violations

of the Telephone Consumer Protection Act, 47 U.S.C.       § 227 et seq. (“TCPA”) and the Florida
Consumer Collection Practices Act, Fla. Stat.   § 559.55 et seq. (“FCCPA”),
                                      INTRODUCTION

       1   .   The TCPA was enacted to prevent companies like Defendant from invading

American citizen’ s privacy and prevent abusive “robo-calls.”

       2.      “The TCPA is designed to protect individual consumers from receiving intrusive

and unwanted telephone calls.” Minis v. Arrow Fin. Servs., LLC, -US--, 132 S.Ct., 740, 745, 181,

LEd. 2d 881 (2012).

       3.      “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the scourge of

modern civilization, they wake us up in the morning; they interrupt our dinner at night; they

force the sick and elderly out of bed; they hound us until we want to rip the telephone out of the

wall.” 137 Cong. Rec. 30, 821 (1991). Senator Hollings presumably intended to give telephone
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subscribers another option: telling the auto-dialers to simply stop ca11ing” Osorio v. State Farm

Bank fS.B., 746 F. 3d 1242, 1256 (1 1t1 Cir. 2014).

         4.            According to the Federal Communications Commission (FCC), “Unwanted calls

and texts are the number one complaint to the FCC. There are thousands of complaints to the

FCC every month on both telemarketing and robocalls. The FCC received more than 215,000

TCPA complaints in 2014.” Fact Sheet. Wheeler Proposal to Protect and Empower Consumers

Against Unwanted Robocalls, Texts to Wireless Phones, Federal Communications Commission,

(May 27, 20 1 5), http://transition.fcc.gov/DailyReleases/Daily_Business/201 5/db0527/DOC-

333676Al .pdf.

                                        JURISDICTION AND VENUE

         2.            This is an action for damages exceeding Seventy-Five Thousand Dollars

($75,00000) exclusive of attorney fees and costs.

         3   .         Jurisdiction and venue for purposes of this action are appropriate and conferred by

28 U.S.C.        §   1 33 1 Federal Question Jurisdiction, as this action involves violations ofthe TCPA.
                         ,




         4.            Subject matter jurisdiction, federal question jurisdiction, for purposes of this

action is appropriate and conferred by 28 U.S.C.             §   1 33 1 which provides that the district courts
                                                                     ,




shall have original jurisdiction of all civil actions arising under the Constitution, laws, or treaties

of the United States; and this action involves violations of 47 U.S.C.                §   227(b)(l)(A)(iii). See

Minis   V.   Arrow Fin. Servs., LLC, S.Ct. 740, 748 (2012) and Osorio v. State Farm Bank, FS.B.,

746 F.3d 1242, 1249 (1 1th Cir. 2014)

         5   .         The alleged violations described herein occurred in Polk County, Florida.

Accordingly, venue is appropriate with this Court under 28 U.S.C.                    § 1 391 (b)(2)   as it is the




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           21   .   Defendant has a corporate policy to use an automatic telephone dialing system or

    a prerecorded or artificial voice to individuals just as it did to Plaintiff’s cellular telephone in

    fiiscn

           22.      Defendant has a corporate policy to use an automatic telephone dialing system or

    a pre-recorded or artificial voicejust as it did to Plaintiffs cellular telephone in this case, with no

    way for the consumer, Plainflfi or Defendant to remove the number.

           23.      Defendant’s corporate policy is sfructxed so as to continue to call individuals like

    Plaintiffdespite these individuals explaining to Defendant they wish for the calls to stop.

           24.      Defendant has numerous other federal lawsuits pending against it alleging similar

    violations as stated in this Complaint
      ‘

           25.      Defendant has numerous complaints across the country against it asserting that its

    automatic telephone dialing system continues to call despite requested to stop.

           26.      Defendant has had numerous complaints from consumers across the counfry

    against it asking to not be called; however, Defendant continues to call the consumers.

           27.      Defendant’s àporate policy provided no means for Plainflifto have Ms number

    removed from Defendant’s call list

           28.      Defendant has a corporate policy to harass and abuse individuals despite actoal

    kno1edge the called parties do not wish to be called.

           29.      Not a single call placed by Defendant to Plaintiff was placed for “emergency

.
    purposes” as specified in 47 U.S.C. § 227(b)(1)(A).

           30.      Defendant willfully and/or knowingly violated the TCPA with respect to Plaintiff




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       31.     From each and every call placed without consent by Defendant to Plaintiffs

cellular telephone, Plaintiff suffered the injury of invasion of privacy and the intrusion upon his

flght of seclusion.         .




       32.     From each and every call without express consent placed by Defendant to

Plaintiffs cellular telephone, Plaintiff suffered the injury of occupation of his cellular telephone

line and cellular telephone by unwelcome calls, maldng the phone unavailable for legitimate

callers or outgoing calls while the phone was ringing from Defendant’s calls.

       33.     From each and every call placed without express consent by Defendant to

Plaintiffs cellular telephone, Plaintiff suffered the injury ofunnecessary expenditure ofhis time.

For calls he answered, the time he spent on the call was unnecessary as he repeatedly asked for

the calls to stop. Even for unanswered calls, Plaintiffhad to waste time to unlock the phone and

deal with missed call notifications and call logs that reflected the unwanted calls. This also

impaired the usefulness ofthese features ofPlainflffs cellular telephone, which are designed to

inform the user ofimportant missed communications.

       34.     Each and every call placed without express consent by Defendant to Plaintiffs

cellular telephone was an injury in the form of a nuisance and annoyance to Plaintiff. For calls

that were answered, Plaintiff had to go to the unnecessary trouble of answering them. Even for

unanswered calls, Plaintiff had to waste time to unlock the phone and deal with missed call

notifications and call logs that reflected the unwanted calls. This also impaired the usefulness of

these features of Plaintiffs cellular telephone, which are designed to inform the user of

important missed communications.




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        35,      Each and every call placed without express consent by Defendant to Plaintiffs

cellular telephone resulted in the injury of unnecessary expenditure of Plaintiff s cellular

telephone’s battery power.

        36.      Each and every call placed without express consent by Defendant to Plaintiffs

cellular telephone where a voice message was left which occupied space in Plaintiffs telephone

or network.

        37.      Each and every call placed without express consent by Defendant to Plaintiffs

cellular telephone resulted in the injury of a trespass to Plaintiffs chattel, namely his cellular

telephone and his cellular telephone services.

        38   .   As a result of the calls described above, Plaintiff suffered an invasion of privacy.

                                             COUNT I
                                      (Violation of the TCPA)

        39.      Plaintifffully incorporates and realleges paragraphs one (1) through forty one

(41) as iffully set forth herein.

        40.      Defendant willfully violated the TCPA with respect to Plaintiff, especially for

each of the auto-dialer calls made to Plaintiffs cellular telephone after Plaintiff notified

Defendant that he wished for the calls to stop.

        41   .   Defendant repeatedly placed non-emergency telephone calls to Plaintiff s cellular

telephone using an automatic telephone dialing system or prerecorded or artificial voice without

Plaintiff s prior express consent in violation of federal law, including 47 U. S .C   §
227(b)(l )(A)(iii).

        WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

judgment against Defendant for statutory damages, punitive damages, actual damages, treble



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damages, enjoinder from further violations of these parts and any other such relief the court may

deem just and proper.

                                              COUNT II
                                      (Violation of the FCCPA)

          42.    Plaintiff fully incorporates and realleges paragraphs one (1) through forty one

(4 1 )as if fully set forth herein

          43     At all times relevant to this action Defendant is subject to and must abide by the

laws ofthe State ofFlorida, including Florida Statute     §   55932.

          44.    Defendant has violated Florida Statute       §   559.72(7) by willfully communicating

with the debtor or any member of his family with such frequency as can reasonably be expected

to harass the debtor or his family.

          45.    Defendant has violated Florida Statute   §   559.72(7) by willfully engaging in other

conduct which can reasonably be expected to abuse or harass the debtor or any member of his

family.

          46.    Defendant’s actions have directly and proximately resulted in Plaintiff’s prior and

continuous sustaining of damages as described by Florida Statute         §   55937.

          WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

judgment against Defendant for statutory damages, punitive damages, actual damages, costs,

interest, attorney fees, enjoinder from further violations of these parts and any other such relief

the court may deem just and proper.

                                               Respectfully



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                                                Florida Bar No. : 338620
                                                Morgan & Morgan, Tampa, P.A.

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